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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     Chapter 11
In re:
                                                                     Case No. 23-11469 (BLS)
AMERICAN PHYSICIAN PARTNERS, LLC, et al.,
                                                                     (Jointly Administered)
                                    Debtors.1


                                                       Objection Deadline: December 29, 2023 at 4:00 p.m. (ET)
                                                              Hearing Date: January 5, 2024 at 10:00 a.m. (ET)
      NOTICE OF HEARING ON DEBTORS’ MOTION FOR ENTRY OF ORDER
      (I) AUTHORIZING (A) PRIVATE SALE AND (B) TRANSFER OF CERTAIN
          ACCOUNTS RECEIVABLE FREE AND CLEAR OF LIENS, CLAIMS,
     ENCUMBRANCES, AND INTERESTS; (II) APPROVING THE TERMS OF THE
    ACCOUNT PURCHASE AGREEMENT; AND (III) GRANTING RELATED RELIEF

                   PLEASE TAKE NOTICE that the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), filed concurrently herewith the Debtors’ Motion for Entry

of an Order (I) Authorizing (A) Private Sale and (B) Transfer of Certain Accounts Receivable Free

and Clear of Liens, Claims, Encumbrances, and Interests; (II) Approving the Terms of the Account

Purchase Agreement; and (III) Granting Related Relief (the “Motion”) with the United States

Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd Floor, Wilmington,

Delaware 19801 (the “Bankruptcy Court”). A copy of the Motion is attached hereto.

                   PLEASE TAKE FURTHER NOTICE that any response or objection to the entry

of the order with respect to the relief sought in the Motion must be filed with the Bankruptcy Court

on or before December 29, 2023 at 4:00 p.m. Eastern Time.




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     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of
     American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these
     chapter 11 cases is 5121 Maryland Way, Suite 300, Brentwood, TN 37027.


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                   PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve

a copy of the response or objection upon: (i) counsel to the Debtors, Pachulski Stang Ziehl &

Jones LLP, 919 North Market Street, 17th Floor, Wilmington, Delaware 19801, Attn: Laura Davis

Jones, Esq. (ljones@pszjlaw.com), David M. Bertenthal, Esq. (dbertenthal@pszjlaw.com), and

Timothy P. Cairns, Esq. (tcairns@pszjlaw.com); (ii) the Office of The United States Trustee, 844

King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Joseph F. Cudia, Esq.

(joseph.cudia@usdoj.gov); and (iii) counsel to the Official Committee of Unsecured Creditors, (i)

Kilpatrick Townsend & Stockton LLP, 1114 Avenue of the Americas, New York, NY 10036-

7703, Attn: Todd C. Meyers, Esq. (tmeyers@kilpatricktownsend.com) and David M. Posner, Esq.

(dposner@kilpatricktownsend.com) and (ii) Womble Bond Dickinson (US) LLP, 1313 North

Market Street, Suite 1200, Wilmington, DE 19801, Attn: Donald Detweiler, Esq.

(don.detweiler@wbd-us.com) and Morgan Patterson, Esq. (morgan.patterson@wbd-us.com).

                   PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

         PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

APPROVAL OF THE MOTION WILL BE HELD ON JANUARY 5, 2024 AT 10:00 A.M.

PREVAILING EASTERN TIME BEFORE THE HONORABLE BRENDAN L. SHANNON,

UNITED STATES BANKRUPTCY COURT JUDGE, AT THE UNITED STATES

BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET

STREET, 6th FLOOR, COURTROOM NO. 1, WILMINGTON, DELAWARE 19801.




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 Dated: December 15, 2023                 PACHULSKI STANG ZIEHL & JONES LLP


                                          /s/ Laura Davis Jones
                                          Laura Davis Jones (DE Bar No. 2436)
                                          David M. Bertenthal (CA Bar No. 167624)
                                          Timothy P. Cairns (DE Bar No. 4228)
                                          919 North Market Street, 17th Floor
                                          P.O. Box 8705
                                          Wilmington, Delaware 19899-8705 (Courier
                                          19801)
                                          Telephone: 302-652-4100
                                          Facsimile: 302-652-4400
                                          email: ljones@pszjlaw.com
                                                  dbertenthal@pszjlaw.com
                                                  tcairns@pszjlaw.com

                                          Counsel for Debtors and Debtors in Possession




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